May 01, 2009


Mr. James C. Ho
Office of the Attorney General
P.O. Box 12548 (MC 059)
Austin, TX 78711-2548

Mr. Max Ralph Tarbox
McWorther Cobb and Johnson LLP
PO Box 2547
Lubbock, TX 79408
Mr. Jeffrey S. Boyd
Thompson &amp; Knight LLP
98 San Jacinto Blvd. , Suite 1900
Austin, TX 78701

RE:   Case Number:  08-0523
      Court of Appeals Number:  03-07-00249-CV
      Trial Court Number:  D-1-GN-06-004663

Style:      TEXAS LOTTERY COMMISSION
      v.
      FIRST STATE BANK OF DEQUEEN; STONE STREET CAPITAL, INC.; AND CLETIUS
      L. IRVAN

Dear Counsel:

      Today the Supreme Court of Texas abated the petition  for  review  and
issued the enclosed abatement order in the above-referenced cause.
                                       Sincerely,
                                       [pic]


                                       Blake A. Hawthorne, Clerk


                                       by Claudia Jenks, Chief Deputy Clerk

|cc:|Mr. Jeffrey D. Kyle      |
|   |Ms. Amalia Rodriguez     |
|   |Mendoza                  |

